          Case 1:12-cv-03723-PAC Document 69 Filed 03/28/13 Page 1 of 19




                        UNITED STATES DISTRICT COURT
                       SOUTHERN DISTRICT OF NEW YORK
                                         _____________________

                                            No. 12 Civ. 3723 (RJS)
                                         _____________________

                     LORELEY FINANCING (JERSEY) NO. 3 LIMITED, et al.,

                                                          Plaintiffs,

                                                  VERSUS

                              WELLS FARGO SECURITIES, LLC, et al.,

                                                       Defendants.
                                          ___________________

                                        MEMORANDUM AND ORDER
                                             March 28, 2013
                                          ___________________

RICHARD J. SULLIVAN, District Judge:

    Plaintiffs 1 bring this action against                 abetting fraud; (4) fraudulent conveyance;
Defendants 2 for claims arising out of a                   and (5) unjust enrichment by all Defendants.
series of investments in three collateralized              Plaintiffs also seek (6) rescission as against
debt obligations (“CDOs”). In particular,                  WFB. Defendants 3 now move to dismiss
Plaintiffs allege (1) common law fraud;                    the Complaint on the grounds that (1)
(2) conspiracy to defraud; (3) aiding and                  Plaintiffs lack personal jurisdiction over
                                                           WFSIL; (2) Plaintiffs’ fraud claims are time-
1                                                          barred; and (3) Plaintiffs fail to allege facts
  Loreley Financing (Jersey) No. 3 Limited (“LFJ
3”); Loreley Financing (Jersey) No. 5 Limited (“LFJ        that plausibly support the elements of their
5”); Loreley Financing (Jersey) No. 15 Limited (“LFJ       claims. For the reasons set forth below, the
15”); Loreley Financing (Jersey) No. 28 Limited            Court dismisses Plaintiffs’ claims in their
(“LFJ 28”); and Loreley Financing (Jersey) No. 30          entirety.
Limited (“LFJ 30”) (collectively, “Plaintiffs”).
2
  Wells Fargo Securities, LLC (“WFS”); Wells Fargo
Securities International, Limited (“WFSIL”); Wells
Fargo Bank, N.A. (“WFB”); Harding Advisory, LLC
                                                           3
(“Harding”); Structured Asset Investors, LLC                 Although Defendants Octans and Sagittarius are not
(“SAI”); Octans II CDO, Ltd. (“Octans”); Sagittarius       named in the moving papers, the Motion nevertheless
CDO I, Ltd. (“Sagittarius”); and Longshore CDO             has the potential to dispose of the claims against
Funding 2007-3, Ltd. (“Longshore”) (collectively,          them. The Court therefore refers to the Motion
“Defendants”).                                             simply as “Defendants’” Motion.
          Case 1:12-cv-03723-PAC Document 69 Filed 03/28/13 Page 2 of 19




               I. BACKGROUND                                it will hold or “warehouse” those assets until
                                                            the CDO is ready to launch. (Compl. ¶ 32.)
                    A. Facts 4                              Simultaneously, the bank will sell portions
                                                            of the anticipated CDO to investors on the
    This case arises out of the collapse of the             premise that the CDO will eventually use
U.S. housing market and the resulting shock                 the investors’ dollars to purchase the assets
wave that resounded through the financial                   held by the bank, and then the CDO will
services industry, which had staked its                     funnel the income from those assets back to
fortunes on the promise of ever appreciating                the investors. (Compl. ¶¶ 30–32; Mem. at
real estate assets. In particular, Plaintiffs’              5–6.) In a managed CDO, a collateral
claims involve allegations of fraud and                     manager selects the assets that will
unjust enrichment in relation to their                      ultimately go into the CDO. (Compl. ¶¶ 35–
investments in CDOs – investment vehicles                   36; Mem. at 6.)
that bundle a variety of revenue-generating
assets and then sell pieces of the expected                     When a sponsoring bank creates and
revenue to investors in the form of debt and                structures a CDO, it generally divides the
equity securities. (Compl. ¶¶ 30–31; Mem.                   securities-for-sale into several classes – or
at 5–6.)                                                    “tranches” – from which investors may
                                                            select their desired risk profile. (Compl.
    Generally, a sponsoring bank will create                ¶ 30.) Generally, a senior tranche will
and structure a CDO. (Compl. ¶ 30.) In                      consist of notes that receive preferred access
preparation for the CDO’s launch, the bank                  to the income that is generated from the
will purchase investment assets, such as                    assets that the CDO purchases, while notes
mortgage-backed securities (“MBS”) 5 or                     from junior tranches receive lower priority;
credit default swap (“CDS”) contracts, 6 and                after all note holders have been paid, the
                                                            equity tranche receives what is left. (Compl.
4
  Except where otherwise noted, the following facts         ¶¶ 31, 51 n.5; Mem. at 6.) Because the
are derived from the Complaint (“Compl.”). In               equity tranche bears the most risk of loss in
resolving the instant motion, the Court has also            the event that a CDO does not succeed, it is
considered Defendants’ Memorandum of Law in
Support of Defendants’ Motion (“Mem.”), Plaintiff's
                                                            often the most difficult piece to sell.
Memorandum of Law in Opposition to Defendants’              (Compl. ¶¶ 31, 51 n.5.)
Motion     (“Opp.”),     and   Defendants’     Reply
Memorandum of Law in Support of Defendants’                     Plaintiffs are five special purpose
Motion (“Reply”), as well as the various exhibits and       financial companies incorporated under the
declarations attached thereto.                              laws of the Bailiwick of Jersey. (Compl.
5
 A single MBS can be conceptualized as a bundle of          ¶¶ 9–13.)      At various times, various
individual mortgages – residential (“RMBS”) or              Plaintiffs invested in the three Defendant
commercial (“CMBS”) – in which each individual              CDOs – Octans, Sagittarius, and Longshore.
mortgage is expected to produce a steady stream of
payments from the mortgagor. For instance, 100              (Id.) These Defendant CDOs are Cayman
mortgages might be bundled together and then cut up
into 25 slices. Each slice is one MBS, which is             investor/insurer who pays out the policy upon the
composed of small pieces of each of the 100 different       occurrence of a “credit event” such as a default or
mortgages. An MBS investor would therefore get a            loss. These contracts permit investors to hedge
small piece of the revenue stream from each of those        against other losses. For instance, A – who has a
100 mortgages. A CDO that invests in multiple MBS           $100,000 investment in MBS – might arrange a CDS
is therefore a bundle of bundles.                           contract in which he pays $100 to B every month
6                                                           unless the value of A’s MBS investment falls below
 CDS contracts are essentially insurance contracts in
                                                            $50,000, in which case B pays A $30,000.
which the policy holder pays premiums to an


                                                        2
          Case 1:12-cv-03723-PAC Document 69 Filed 03/28/13 Page 3 of 19




Islands limited liability companies, which                   of those CDOs.            According to the
were created and marketed by Wachovia                        Complaint, Magnetar’s equity positions –
Capital Markets, Wachovia Securities                         which effectively amounted to bets that the
International Ltd., and Wachovia Bank,                       CDOs would succeed – were simultaneously
N.A. – all of which are predecessors in                      offset or “hedged” by short positions –
interest to the Wells Fargo Defendants. (See                 specifically, CDS contracts that would pay
id. ¶¶ 14–22.)       Specifically, Wachovia                  off if the CDOs failed. (Id. ¶¶ 2–3, 52–54,
Capital Markets was the initial purchaser of                 67, 72, 108).     Thus, according to the
the notes issued by the CDO Defendants and                   Complaint, in the event of either success or
was succeeded by Defendant WFS. (See id.                     failure of the CDOs, Magnetar was
¶ 20.) Wachovia Securities International                     positioned to benefit. (Id. ¶ 147 (alleging
Ltd. served as the agent of Wachovia Capital                 that several Defendants knew that
Markets for international sales and was                      “Magnetar would profit not only if the CDO
succeeded by WFSIL. (See id. ¶ 21.)                          performed but also if it failed . . .”).)
Wachovia Bank, N.A. was the initial CDS
counterparty for the CDOs and was                                Overall, Plaintiffs allege that, because
succeeded by WFB. (See id. ¶ 22.)                            the Defendant CDOs purchased assets from
                                                             the sponsoring bank through non-arm’s-
     In creating these CDOs, Wachovia 7                      length deals, at above-market prices, the
employed collateral managers to select and                   CDOs did not receive fair consideration for
manage the assets that would comprise the                    their payments and were rendered insolvent.
CDOs. (Id. ¶ 34.) Harding, a limited                         (See id. at ¶¶ 232–237 (Octans); 140, 238–
liability company (“LLC”) incorporated in                    243 (Sagittarius); 244–249 (Longshore).)
Delaware, served as collateral manager for                   The specific allegations as to each CDO
Octans (id. ¶ 23); and SAI, another                          follow below.
Delaware LLC that was a wholly-owned
subsidiary of Wachovia, served as collateral                                1. The Octans CDO
manager for both Sagittarius and Longshore
(id. ¶ 24).                                                      The activities at issue in this case began
                                                             in the summer of 2006. According to the
    According to the Complaint, Wachovia                     Complaint, in July of that year, Magnetar
did not market the CDOs directly to                          agreed to purchase the equity portion of
Plaintiffs but instead marketed them to                      Octans. (See id. ¶ 109.) In August and
Plaintiffs’   investment  advisor,     IKB                   September 2006, Wachovia provided IKB
Duetsche Industriesbank AG, and its former                   with term sheets, a marketing book, and the
affiliate, IKB Credit Asset Management                       offering circular for Octans, 8 representing
GmbH (collectively, “IKB”).      (See id.                    that Harding would select and monitor the
¶¶ 34–37, 73.) IKB is not a party in this
action.                                                      8
                                                                The offering circulars for the CDO Defendants
                                                             functioned as the contracts for the parties involved
   Another non-party, Magnetar Capital                       and contained language limiting the terms of the
LLC (“Magnetar”) invested in Octans and                      agreement to the terms therein. (See Decl. of Jayant
Sagittarius by purchasing the equity tranche                 Tambe, dated July 31, 2012, Doc. No. 46 (“Tambe
                                                             Decl.”), Ex. 6 at 5 (Octans); Ex. 8 at iii (Sagittarius);
                                                             Ex. 10 at v, xii (Longshore).)        Accordingly, in
7
  Throughout the Complaint, Plaintiffs refer generally       determining this motion, the Court relies only on
to “Wachovia,” without specifying any particular             allegations about representations in the offering
Wachovia entity.                                             circulars.


                                                         3
         Case 1:12-cv-03723-PAC Document 69 Filed 03/28/13 Page 4 of 19




collateral for the CDO. (Id. ¶¶ 84–90.) On                In addition to exchanging e-mails with
October 12, 2006, Plaintiff LFJ 5 invested in         Wachovia and Harding, Magnetar requested
the CDO, which became operational the                 a structure that would not divert collateral-
same day. (See id. ¶¶ 95, 116–120.)                   asset cash flow away from subordinated
                                                      notes (id. ¶110), and it proposed a “sourcing
    Although Harding was designated to                fee” that it would receive for proposing
serve as the collateral manager for Octans,           assets that were ultimately incorporated into
Plaintiffs allege that Magnetar interfered            the deal (id. ¶ 111). Ultimately, the cash
with Harding’s selection of collateral. (Id.          flow structure and sourcing fees were
¶¶ 88–89, 91, 96–101.) For example, on                disclosed in the Octans offering circular.
August 8, 2006, as the assets for Octans              (Mem. at 17; Opp. at 17.)
were being purchased and the notes were
being sold to investors, Plaintiffs allege that                 2. The Sagittarius CDO
a Magnetar official e-mailed Wachovia and
Harding saying:                                           Plaintiffs do not make clear whether or
                                                      when Magnetar invested in the Sagittarius
   I[’]d like to be copied on the whole               CDO, but they imply that Magnetar was an
   approval/trade process and definitely              equity investor.     (See Compl. ¶ 146.)
   would like to get an updated log each              Plaintiffs allege that, beginning in
   day that there is any trading.                     November 2006, Wachovia approached
                                                      IKB about investing in Sagittarius, for
   We should also discuss CDO                         which SAI would serve as collateral
   exposure as I will source the CDO                  manager. (See id. ¶ 123.) From December
   CDS.                                               2006 through February 2007, Wachovia
                                                      provided IKB with several iterations of the
(Id. ¶ 99.) Plaintiffs also allege an exchange        term sheet for Sagittarius, as well as a
of three e-mails between Magnetar and                 marketing book and offering circular, all of
Harding on September 12, 2006:                        which represented that SAI would select and
                                                      monitor the collateral for the CDO. (See id.
   [Magnetar:] I know this is short                   ¶¶ 126–130, 150.) The offering circular also
   notice but very important. The big                 represented that all collateral assets would
   guy himself, Alec Litowitz, will be                be purchased in arm’s length transactions for
   in our NYC office tomorrow. He                     fair market value. (See id. ¶ 131.) In March
   would like to meet with you at 5PM                 2007, Plaintiffs LFJ 15 and LFJ 28
   to discuss your thoughts on the no                 purchased Sagittarius notes from Wachovia.
   trigger structure, how you would                   (See id. ¶ 154.)
   think about hedging, risks to
   strategy. If you can come over then,                   Although Sagittarius was a managed
   would be greatly appreciated.                      CDO, with SAI designated to select and
                                                      manage the collateral (see Compl. ¶¶ 127–
   [Harding:]     Will    make     myself
                                                      128), Plaintiffs allege that Magnetar
   available.
                                                      interfered with asset selection (id. ¶ 132),
   [Harding:] [S]tick w/Harding, we get               and they point to a series of e-mails as
   the job done right!                                evidence of that interference (see id. ¶¶ 134–
                                                      138). For example, on September 19, 2006,
(Id. ¶¶ 96–97.)                                       a Magnetar official e-mailed Wachovia,
                                                      saying that Magnetar “didn’t mean to kill


                                                  4
         Case 1:12-cv-03723-PAC Document 69 Filed 03/28/13 Page 5 of 19




[SAI] off,” it “just wanted them to be more             as favorable to the Issuer as would
user friendly.” (Id. ¶ 134.) Wachovia                   be the case if such Person were not
replied within an hour: “[W]e’re working on             so affiliated.
that angle as we speak – let[’]s talk
tomorrow.” (Id.)                                     (Id. ¶ 158; Tambe Decl. Ex. 10 at 149.)
                                                     Nevertheless, relying on this representation,
    As it had with Octans, Magnetar                  Plaintiffs LFJ 3, LFJ 5, and LFJ 30
requested a structure that would not divert          purchased Longshore Notes from Wachovia
cash flow from subordinated investors (id.           in April 2007. (See Compl. ¶¶ 168–171.)
¶ 143), and it also sought a provision that
would permit removal of the collateral                             *      *       *
manager with or without cause (id. ¶ 145).
Also, as with Octans, these structural                   The Complaint alleges that each of the
features were disclosed in the offering              three CDOs in which Plaintiffs invested
circular. (Mem. at 20; Opp. at 17.)                  “eventually [defaulted] . . . and became
                                                     virtually worthless.”         (Id. ¶ 181.)
          3. The Longshore CDO                       Specifically, on May 26, 2008, Octans
                                                     defaulted, and by July 2009, both Moody’s
    In February 2007, Wachovia was                   and Standard and Poor (“S&P”) had
contemplating the formation of two CDOs:             withdrawn their ratings for the CDO
Longshore and another that was ultimately            altogether.      (See id. ¶¶ 120–121.)
cancelled.    (See id. ¶ 160.)        On an          Sagittarius defaulted on October 23, 2007,
unspecified date after the cancellation of the       and Moody’s and S&P withdrew their
second CDO, Wachovia transferred forty               ratings in July 2009. (See id. ¶¶ 155–156.)
assets from the account, or “warehouse,” of          Finally, Longshore defaulted on February 4,
assets for the cancelled CDO into the                2008, and S&P downgraded the tranches in
warehouse established for Longshore. (Id. ¶          which Plaintiffs had invested to junk status
164.)      Moreover, according to the                on March 25, 2008. (See id. ¶¶ 173–174.)
Complaint, Wachovia ultimately charged               On April 5, 2011, the Securities and
Longshore the same price for the assets as           Exchange Commission (the “SEC”) issued
Wachovia had paid on the open market                 an order commencing cease-and-desist
some months earlier, even though the                 proceedings against WFS with regard to,
market value of the assets had dropped               inter alia, above-market prices that
considerably since the original purchase by          Wachovia – WFS’s predecessor – charged
Wachovia. (Id. ¶ 164.)                               Longshore for some of the assets in that
                                                     CDO. (Tambe Decl. Ex 12 (the “SEC
    In essence, Plaintiffs allege that this          Order”).) In addition to alleging securities
transaction constituted a “dumping” of toxic         infractions by WFS, the Order announced
assets by Wachovia and belied Longshore’s            that WFS agreed to settle the matter without
Offering Circular, which represented that:           stipulating to any facts or admitting any
                                                     wrongdoing.         (Id. Ex. 12 at 1.)
   The Collateral Manager shall cause                Nevertheless, although the Defendant CDOs
   any acquisition or sale of Collateral             failed, Wachovia and the Defendant
   by the Issuer to be conducted on an               collateral managers walked away with fees
   arm’s length basis . . . and, if                  from the transactions pursuant to the
   effected with the Collateral Manager              contract for the sale of the CDO notes. (See
   or one of its Affiliates . . . , on terms         Compl. ¶ 257.)


                                                 5
         Case 1:12-cv-03723-PAC Document 69 Filed 03/28/13 Page 6 of 19




           B. Procedural History                     that jurisdiction exists.”      Thomas v.
                                                     Ashcroft, 470 F.3d 491, 495 (2d Cir. 2006).
     Plaintiffs commenced this action by             “Such a showing entails making ‘legally
filing suit in New York State Supreme                sufficient allegations of jurisdiction,’
Court, New York County, on April 9, 2012.            including ‘any averment of facts that, if
(Doc. No. 1.) Defendants removed the case            credited[,] would suffice to establish
on May 10, 2012 pursuant to the Edge Act,            jurisdiction over the defendant.’” Penguin
12 U.S.C. § 632, which extends federal               Gr., 609 F.3d at 35 (quoting Magnetic
jurisdiction to certain actions that implicate       Audiotape, 334 F.3d at 206). “However,
international banking. (Id.) On July 31,             ‘[c]onclusory allegations are not enough to
2012, Defendants filed the instant Motion            establish personal jurisdiction’ and the
(Doc. No. 43). The Motion was fully                  allegations must be well-pled.” Sikhs for
briefed on October 8, 2013 (Doc. No. 57),            Justice v. Nath, No. 10-cv-2940, 2012 WL
and the Court heard oral argument on                 4328329, at *22 (S.D.N.Y. Sept. 21, 2012)
January 18, 2013.                                    (quoting Mende v. Milestone Tech., Inc., 269
                                                     F. Supp. 2d 246, 251 (S.D.N.Y. 2003)).
              II. DISCUSSION
                                                         “The amenability of a foreign
    At the outset, the Court will consider           corporation to suit in a federal court in a
whether      Plaintiffs   have    adequately         diversity action . . . is determined in
established the Court’s personal jurisdiction        accordance with the law of the state where
over WFSIL. The Court will then assess               the court sits . . . .” Jazini v. Nissan Motor
whether Plaintiffs have pleaded facts                Co., Ltd., 148 F.3d 181, 183 (2d Cir. 1998)
sufficient to plausibly make out their claims        (internal quotations and brackets omitted).
– first with regard to the statute of                “A court may exercise personal jurisdiction
limitations and then in connection with their        under New York Civil Procedure section
substantive causes of action.                        301 over a foreign corporation that is
                                                     engaged in ‘continuous, permanent, and
  A. Rule 12(b)(2): Personal Jurisdiction            substantial activity in New York.’” Saudi v.
                                                     Marine Atl., Ltd., 306 F. App’x 653, 654–55
    Defendant WFSIL argues that Plaintiffs           (2d Cir. 2009) (quoting Landoil Resources
have failed to establish the Court’s                 Corp. v. Alexander & Alexander Servs. Inc.,
jurisdiction over WFSIL, a limited liability         918 F.2d 1039, 1043 (2d Cir. 1991) (internal
company that exists under the laws of                quotation marks omitted)). Absent such
England and Wales and has its principal              general grounds for jurisdiction, long-arm
place of business in London. (Compl. ¶ 21.)          jurisdiction pursuant to “N.Y. C.P.L.R.
                                                     302(a) provides, in pertinent part, that a
     “A plaintiff bears the burden of                court ‘may exercise personal jurisdiction
demonstrating personal jurisdiction over a           over any non-domiciliary . . . who in person
person or entity against whom it seeks to            or through an agent . . . transacts any
bring suit.” Penguin Gr. (USA) Inc. v. Am.           business within the state,’ so long as the
Buddha, 609 F.3d 30, 34 (2d Cir. 2010)               plaintiff’s ‘cause of action aris[es] from’ that
(citing In re Magnetic Audiotape Antitrust           ‘transact[ion].’”      Licci ex rel. Licci v.
Litig., 334 F.3d 204, 206 (2d Cir. 2003) (per        Lebanese Canad’n Bank, SAL, 673 F.3d 50,
curiam)). “In order to survive a motion to           60 (2d Cir. 2012) (quoting N.Y. C.P.L.R.
dismiss for lack of personal jurisdiction, a         302(a)).
plaintiff must make a prima facie showing


                                                 6
         Case 1:12-cv-03723-PAC Document 69 Filed 03/28/13 Page 7 of 19




    Plaintiffs allege that the non-CDO               only abroad. (See generally Decl. of Toby
Defendants “engage in, or during the                 Peregrine-Jones, dated July 31, 2012, Doc.
relevant time period engaged in, a                   No. 45, ¶¶ 4–8. (summarizing WFSIL’s utter
continuous and systematic course of                  lack of ties to New York State).) Since WSI
business in New York and have offices in             was the express agent of WCM, WCM’s
New York City. Moreover, all Defendants              amenability to jurisdiction will not transfer
transacted business within New York giving           to WSI pursuant to Section 302(a). 9
rise to Plaintiffs’ causes of action and
orchestrated the fraudulent scheme at issue              As a final alternative, Plaintiffs argue
in and from New York.” (Compl. ¶ 26.)                that WFSIL is subject to jurisdiction
Clearly, conclusory allegations such as              pursuant to Section 301 because it is a “mere
these, which merely recite the legal                 department” of WFS. (Opp. at 48–49.)
standard, are inadequate to establish general
jurisdiction over WFSIL pursuant to Section              In    determining      whether       [a]
301.                                                     subsidiary is a ‘mere department’ of
                                                         the parent . . . the court must
    Plaintiffs alternatively rely on long-arm            consider four factors . . . : first,
jurisdiction, arguing that the express agency            ‘common ownership’ – which is
relationship between Wachovia Securities                 essential[];    second,      ‘financial
International (“WSI”) and Wachovia Capital               dependency of the subsidiary on the
Markets (“WCM”) – the predecessors to                    parent corporation;’ third, ‘the
WFSIL and WFS, respectively – establishes                degree to which the parent
jurisdiction over WFSIL. (Opp. at 46–48.)                corporation interferes in the selection
Plaintiffs allege that WSI “was the agent of             and assignment of the subsidiary’s
[WCM] for the sale of the Sagittarius and                executive personnel and fails to
Longshore Notes.” (Compl. ¶ 21; see                      observe corporate formalities;’ and
Tambe Decl. Exs. 6, 10.)             Although            fourth, ‘the degree of control over
C.P.L.R. 302(a) permits a Court to exercise              the marketing and operational
jurisdiction over a foreign corporation                  policies of the subsidiary exercised
whose agent transacts business in the state              by the parent.’
of New York, “that statutory provision does
not provide for the ‘reverse.’ It does not           Jazini, 148 F.3d at 184–85 (quoting
permit the acts of a principal to be imputed         Volkswagenwerk Aktiengesellschaft v. Beech
to a foreign agent to confer jurisdiction over       Aircraft Corp., 751 F.2d 117, 120–22 (2d
the agent.” Int’l Customs Assocs., Inc. v.
                                                     9
Ford Motor Co., 893 F. Supp. 1251, 1262                Plaintiffs also argue that common ownership “gives
(S.D.N.Y. 1995) (listing cases); see also            rise to a valid inference as to the broad scope of the
                                                     agency” relationship between commonly owned
Societe d’Assurance de l’Est SPRL v.                 parties.     (Opp. at 48.)        However, Plaintiffs
Citigroup Inc., 10-cv-4754 (JGK), 2011 WL            mischaracterize the holding of the case on which they
4056306, at *7 (S.D.N.Y. Sept. 13, 2011)             rely: Frummer v. Hilton Hotels Int’l., Inc., 19 N.Y.2d
(rejecting jurisdiction over Citigroup Congo         533, 538 (1967). After the language that Plaintiffs
when it carried out the financial decisions of       quote, the opinion goes on to explain that the
                                                     inference of agency only arises “in the absence of an
its parents abroad). Here, Plaintiffs attempt        express agency agreement.” Id. Where, as here, an
to reverse the structure of Section 302(a) by        express agency agreement sets forth the roles of
making the acts of the principal in New              principal and agent, the long-arm statute will not
York (WCM) the basis for jurisdiction over           permit the principal’s amenability to jurisdiction to
the agent (WSI), which conducted business            carry to the agents.


                                                 7
         Case 1:12-cv-03723-PAC Document 69 Filed 03/28/13 Page 8 of 19




Cir. 1984)). Plaintiffs do not even begin to           1.   Statute of Limitations for Fraud-Based
allege facts that would satisfy this legal                                Claims
standard, so this argument fails as well. See
id. at 185 (finding no personal jurisdiction               Defendants move to dismiss all fraud
over a mere department where plaintiffs’               claims based on the statute of limitations.
allegations “lack[ed] the factual specificity          (Mem. at 44–45.) “A motion to dismiss on
necessary to confer jurisdiction” and relied           statute of limitations grounds is properly
instead on “conclusory allegations”).                  viewed as a Rule 12(b)(6) motion to dismiss
                                                       for failure to state a claim . . . .” Jowers v.
    Having failed to plead facts that would            Lakeside Family & Children’s Servs., 435 F.
establish the Court’s jurisdiction over                Supp. 2d 280, 283 (S.D.N.Y. 2006); see
WFSIL, Plaintiffs’ claims against that party           Ghartey v. St. John’s Queens Hosp., 869
are dismissed pursuant to Federal Rule of              F.2d 160, 162 (2d Cir. 1989). Under
Civil Procedure 12(b)(2).                              N.Y.C.P.L.R. § 202, when a nonresident
                                                       brings an action in New York based upon an
 B. Rule 12(b)(6): Failure to State a Claim            injury that occurred outside of the state, the
                                                       action must satisfy both New York’s statute
    In order to survive a motion to dismiss            of limitations and the limitations period of
pursuant to Rule 12(b)(6) of the Federal               the jurisdiction in which the cause of action
Rules of Civil Procedure, a plaintiff must             accrued. New York grants a party six years
“provide the grounds upon which his claim              in which to bring fraud-based claims, see
rests.” ATSI Commc’ns, Inc. v. Shaar Fund,             N.Y.C.P.L.R. § 213(8), which the parties do
Ltd., 493 F.3d 87, 98 (2d Cir. 2007).                  not dispute Plaintiff satisfies. Therefore,
Plaintiffs must also allege “enough facts to           Plaintiffs’ claims could be time-barred only
state a claim to relief that is plausible on its       if they accrued in a jurisdiction with a
face.” Bell Atl. Corp. v. Twombly, 550 U.S.            shorter limitation than New York’s six-year
544, 570 (2007). “A claim has facial                   period.
plausibility when the plaintiff pleads factual
content that allows the court to draw the                  “If the claimed injury is an economic
reasonable inference that the defendant is             one, the cause of action typically accrues
liable for the misconduct alleged.” Ashcroft           where the plaintiff resides and sustains the
v. Iqbal, 556 U.S. 662, 678 (2009). In                 economic impact of the loss.” Portfolio
reviewing a Rule 12(b)(6) motion to                    Recovery Assoc., LLC v. King, 901 N.Y.S.2d
dismiss, a court must accept as true all               575, 577 (N.Y. 2010) (internal quotation
factual allegations in the complaint and draw          marks omitted). The parties do not dispute
all reasonable inferences in favor of the              that Plaintiffs are Jersey entities so their
plaintiff. ATSI Commc’ns, 493 F.3d at 98.              economic losses occurred in Jersey, and
However, that tenet “is inapplicable to legal          their claims accrued there. Jersey’s statute
conclusions.” Iqbal, 556 U.S. 678. Thus, a             of limitations therefore applies. The parties
pleading that offers only “labels and                  also agree that Jersey law provides no
conclusions” or “a formulaic recitation of             specific limitation for common law fraud, so
the elements of a cause of action will not             Jersey courts would determine the
do.” Twombly, 550 U.S. at 570. If a                    limitations period by working to identify a
plaintiff “ha[s] not nudged [its] claims               limitation by analogy. (See Decl. of Robert
across the line from conceivable to                    Oliver Basil Gardner, dated Sept. 17, 2012,
plausible, [its] complaint must be                     Doc. No. 49 (“Gardner Decl.”), ¶¶ 6–7;
dismissed.” Id.                                        Decl. of Michael Paul Cushing, dated


                                                   8
         Case 1:12-cv-03723-PAC Document 69 Filed 03/28/13 Page 9 of 19




October 8, 2012, Doc. No. 58 (“Cushing                 particular, the parties agree that tolling
Decl.”), ¶ 9.) It is the proper analogy that           standards under Jersey case law suspend the
the parties struggle to agree on.                      statute of limitations when it is objectively
                                                       and subjectively reasonable for a would-be
     Plaintiffs assert that their fraud-based          plaintiff to be unaware of his cause of
claims are analogous to the causes of action           action. (Gardner Decl. ¶ 13; Cushing Decl.
for      dol,    erreur,     and     fraudulent        ¶ 22.) Here, Plaintiffs adequately allege that
misrepresentation – all of which are                   they did not know, and could not reasonably
contract-related causes of action in Jersey            have discovered, the facts underlying their
with ten-year limitations periods.         (See        fraud claims. (Compl. ¶ 182.) Not until
Gardner Decl. ¶¶ 4, 8–10.) Defendants                  July 2009 did Moody’s and S&P withdraw
contend that the fraud-based claims should             their ratings from Octans and Sagittarius (id.
sound in tort, because Plaintiffs’ fraud               ¶¶ 121, 156), and the SEC did not settle the
claims are leveled against all parties, not just       Longshore matter with Wells Fargo until
WFB, the lone Defendant in contractual                 April 5, 2011 (Tambe Decl. Ex. 12). At
privity (through its predecessor) with                 least at this stage of the proceedings,
Plaintiffs. (See Cushing Decl. ¶¶ 12–13.)              Plaintiffs have alleged facts that would
Tort actions in Jersey operate on a three-             support an inference that they had neither
year statute of limitations. (Id.) Moreover,           actual nor constructive knowledge of the
Defendants point to Pell Frischmann v. Bow             facts underlying their claims until July 2009,
Valley, (2008) JLR 311, in which the Jersey            which would make their action timely under
Court of Appeal addressed a cause of action            Jersey’s three-year statute of limitations for
similar to common law fraud and treated it             tort.     Accordingly, Defendants’ motion
as the tort of “deceit.” (Id. ¶ 15.) According         based on the statute of limitations is denied.
to the court in Pell Frischmann, a plaintiff
may bring an action for deceit where “a                        2.    Common Law Fraud
defendant makes a false representation,
knowing it to be untrue, or being reckless as              The Court now proceeds to consider the
to whether it is true, and intends that the            adequacy of each cause of action under the
claimant should act in reliance on it,                 familiar Rule 12(b)(6) pleading standard.
[thereby causing the plaintiff to] suffer[] loss       The parties focus the bulk of their briefs on
. . . .” (Id. ¶ 15.) This formulation – which          the cause of action for common law fraud.
is nearly identical to the elements for                In New York, a claim for common law fraud
common law fraud in New York set forth                 requires a plaintiff to plead (1) a material
below in Section II.B.2 – weighs strongly in           misrepresentation of fact, (2) knowledge of
favor of Defendants’ argument for a three-             its falsity, (3) intent to induce reliance, (4)
year limitation based in tort.                         justifiable reliance by the plaintiff, and (5)
                                                       damages.          See Landesbank Baden-
    Even assuming a three-year limitation,             Wurttemberg v. Goldman, Sachs & Co., 478
however, “in the statute of limitations                F. App’x 679, 681 (2d Cir. 2012) (citing
context . . . dismissal is appropriate only if a       Eurycliea Partners, LP v. Seward & Kissel,
complaint clearly shows the claim is out of            LLP, 883 N.Y.S. 147, 150 (N.Y. 2009)).
time.” Harris v. City of New York, 186 F.3d            Additionally, fraud claims are subject to the
243, 250 (2d Cir. 1999). At this stage, too            particularity pleading requirements of Rule
many questions of fact remain for the Court            9(b), under which a plaintiff must “(1) detail
to determine whether the statute of                    the statements (or omissions) that the
limitations bars Plaintiffs’ fraud claims. In          plaintiff contends are fraudulent, (2) identify


                                                   9
        Case 1:12-cv-03723-PAC Document 69 Filed 03/28/13 Page 10 of 19




the speaker, (3) state where and when the                    Plaintiffs allege that the offering circular
statements (or omissions) were made, and                 for Octans represented that Harding would
(4) explain why the statements (or                       select and monitor the collateral for the
omissions) are fraudulent.” Eternity Global              CDO. (Id. ¶ 90.) To demonstrate that this
Master Fund Ltd. v. Morgan Guar. Trust                   representation      was     materially     false,
Co. of N.Y., 375 F.3d 168, 187 (2d Cir.                  Plaintiffs point to a series of e-mail
2004). Moreover, in pleading scienter, a                 exchanges among Magnetar, Harding, and
plaintiff needs to allege facts that give rise to        an undifferentiated “Wachovia” entity in
a “strong inference” of fraudulent intent                which Magnetar purportedly exercised
either by (1) showing that Defendants had                influence over Harding in its selection of
the motive and opportunity to commit fraud               collateral. They also argue that Defendants
or (2) providing strong circumstantial                   failed to disclose material information that
evidence of their conscious misbehavior or               Plaintiffs had a right to know. These
recklessness. See id. Finally, in pleading               allegations fail to make out a material
damages, a plaintiff must allege loss                    misrepresentation or omission.
causation – that is, that its reliance on the
misrepresentation or omission proximately                      i. Failure to Differentiate Among
caused the loss. See Solow v. Citigroup,                                   Defendants
Inc., No. 12-2499-cv, 2013 WL 149902, at
*2 (2d Cir. Jan. 15, 2013).                                  Before reaching the substance of
                                                         Plaintiffs’ claims, the Court notes that
    Plaintiffs allege common law fraud                   Plaintiffs do not identify which of the Wells
arising from representations and omissions               Fargo Defendants is responsible – through
that induced them to invest in each of the               its Wachovia predecessor – for the
three CDOs at issue. In relation to Octans               representations in the Octans Term Sheets or
and Sagittarius, however, they fail to plead             Marketing Book, nor do they identify which
facts that raise a plausible inference of a              Wachovia        entity     betrayed     those
material misrepresentation or omission,                  representations by colluding with Magnetar.
much less a strong inference of scienter,                Instead, throughout the Complaint, Plaintiffs
under the Rule 9(b) standard.            For             refer generally to “Wachovia.” (See, e.g.,
Longshore, they fail to allege scienter.                 Compl. ¶¶ 84–87 (aggressive marketing by
                                                         “Wachovia”), 90–91 (representations by
               a. Octans CDO                             “Wachovia”), 99 (e-mail exchange with
                                                         “Wachovia”),       104–106       (“Wachovia”
    Plaintiffs’ fraud theory for Octans holds            helping Magnetar execute its scheme), 108
that Defendants named Harding as the                     (“Wachovia” concealing information), 111
collateral manager for the CDO, but Harding              (“Wachovia” negotiating deal features with
knowingly abdicated its role to the CDO’s                Magnetar).) This is not enough. Under
equity investor, Magnetar, in order to curry             Rule 9(b), plaintiffs are required to specify
favor with that investor. (Compl. ¶¶ 2–4,                which Defendants are responsible for which
113.)     Because Magnetar held a short                  alleged fraud. See DiVittorio v. Equidyne
position even larger than its equity position,           Extractive Indus. Inc., 822 F.2d 1242, 1247
however, it selected assets that would cause             (2d Cir. 1987); Welch v. TD Ameritrade
Octans to fail. (Id.) When Octans did in                 Holding Corp., 07-cv-6904 (RJS), 2009 WL
fact fail, Plaintiffs lost their investment              2356131, at *6 (S.D.N.Y. July 27, 2009)
while Magnetar profited. (Id. ¶¶ 113, 120–               (“Plaintiff improperly groups all Defendants
122.)


                                                    10
        Case 1:12-cv-03723-PAC Document 69 Filed 03/28/13 Page 11 of 19




together through the use of headings that                     ii. Failure to Plead Fraudulent
label his allegations as misrepresentations                         Misrepresentations
by the ‘TD Ameritrade Defendants.’”)
                                                           Turning to the non-Wells Fargo
    Plaintiffs respond that the “group                 Defendants, Plaintiffs do specify Harding’s
pleading doctrine” permits them to refer               role in the purported fraud. Even with
generally to Wachovia or the Wells Fargo               Harding adequately identified in the
Defendants. (Opp. 12–13.) That doctrine                pleadings – and even if the Wells Fargo
applies, however, only when a plaintiff                Defendants had been properly disaggregated
“allege[s] interaction between the corporate           – the allegations do not raise a plausible
entities relating to the subject matter of the         inference that the statements about
alleged fraudulent misstatement or omission            Harding’s role as collateral manager were
that is more than conclusory.” In re Optimal           material misrepresentations.         Plaintiffs
U.S. Litig., 837 F. Supp. 2d 244, 264                  identify two alleged e-mails as the strongest
(S.D.N.Y. 2011); see also DiVittorio 822               proof of Magnetar’s improper influence over
F.2d at 1248 (dismissing claims based upon             the selection of collateral for Octans. (Tr. of
conclusory allegations that defendants were            Oral Arg. on January 18, 2013 (“Tr.”) at
affiliated entities). Plaintiffs make only one         42:22–23; 43:11–13.) According to the
vague allegation of interrelatedness among             Complaint, on August 8, 2006, as the assets
the Wachovia entities: that “Wachovia                  for Octans were being purchased and the
Securities International Limited was the               CDO’s notes were being sold to investors, a
agent of Wachovia Capital Markets, LLC                 Magnetar official e-mailed Wachovia and
for the sale of the Sagittarius and Longshore          Harding saying:
Notes.”      (Compl. ¶ 21.)         Otherwise,
Plaintiffs substantiate their group pleading              I[’]d like to be copied on the whole
argument by describing each of the Wells                  approval/trade process and definitely
Fargo Defendants individually and without                 would like to get an updated log each
cross-reference (id. ¶¶ 20–22), and by                    day that there is any trading.
alleging generally that Octans was “arranged
by Wachovia Capital Markets, LLC,                         We should also discuss CDO
Wachovia Securities International Limited,                exposure as I will source the CDO
and Wachovia Bank, N.A. (collectively                     CDS.
‘Wachovia’; the predecessors-in-interest of,
respectively,      WFS,       WFSI[L],     and         (Compl. ¶ 99.) Harding replied: “Sounds
WFB) . . . ” (id. ¶ 2). These allegations set          good.” (Id.)
forth no specific interactions between the
Wells Fargo entities “relating to the subject              Plaintiffs argue that this exchange
matter      of    the     alleged    fraudulent        should have been disclosed because it
misstatement or omission,” Optimal U.S.                reveals that, even though Magnetar was
Litig., 837 F. Supp. 2d at 264; therefore,             “sourc[ing] the CDO CDS” – i.e., seeking a
Plaintiffs fail to create a basis on which the         short position against any other CDOs that
Court may apply the group pleading                     Octans was investing in (Tr. 41:6–14) –
doctrine. Accordingly, Plaintiffs fail to state        Magnetar was also “together with the so-
a claim against any of the Wells Fargo                 called independent collateral manager
Defendants for fraud in relation to the                deciding which assets should go in the CDO
Octans CDO.                                            for the long side” (Tr. 40:14–24). Plaintiffs
                                                       simply read too much from this e-mail


                                                  11
        Case 1:12-cv-03723-PAC Document 69 Filed 03/28/13 Page 12 of 19




exchange. In fact, the e-mail says nothing               statements by Harding [–] we will
about Magnetar selecting collateral for the              get the job done, we have a can-do
CDO. To the contrary, the e-mail implies                 attitude [–] these are the discussions
that Harding was in the process of selecting             between the collateral manager and
collateral and that Magnetar simply wished               the party that has the overwhelming
to be kept apprised of which assets were                 short interest in the deal, the party
going into the CDO. At most, the exchange                that benefits if the deal fails.
can plausibly be read to reveal that
Magnetar was looking to hedge the CDO’s               (Tr. at 43:15–23.)
long bets by staking out short positions.
Aside from there being nothing improper                   Plaintiffs again read too much into an e-
about Magnetar’s hedging its exposure to              mail exchange. Viewed in the light most
the equity tranche, there is simply nothing in        favorable to Plaintiffs’ theory, this e-mail
the exchange to suggest that Magnetar was             shows Magnetar asking Harding for a
selecting Octans’s collateral or influencing          meeting to talk about the CDO’s structure
Harding’s selection process in contravention          and its hedge position. The e-mail plausibly
of the CDO’s offering circular.                       implies that Magnetar was an active and
                                                      involved equity investor and that Harding
    The other e-mail exchange that Plaintiffs         was happy to accommodate the request for a
say most strongly demonstrates Magnetar’s             meeting, but it does not provide any reason
improper influence also fails to support an           to believe that Magnetar was influencing
inference of undue influence by Magnetar:             Harding’s collateral selection, no matter
                                                      how much Plaintiffs insist otherwise.
   [Magnetar:] I know this is short                   Indeed, the tone of Magnetar’s e-mail
   notice but very important. The big                 suggests that Harding was in control and
   guy himself, Alec Litowitz, will be                that Magnetar merely wanted to be kept
   in our NYC office tomorrow. He                     abreast of developments. If Magnetar was
   would like to meet with you at 5PM                 already involved in selecting assets, this
   to discuss your thoughts on the no                 exchange would have been unnecessary. In
   trigger structure, how you would                   short, Plaintiffs’ allegations do not support a
   think about hedging, risks to                      plausible inference that Harding – or any
   strategy. If you can come over then,               Defendant, for that matter – fraudulently
   would be greatly appreciated.                      misrepresented Octans to Plaintiffs.

   [Harding:]     Will    make     myself              iii. Failure to Plead Fraudulent Omissions
   available.
                                                          Plaintiffs also allege that Magnetar
   [Harding:] [S]tick w/Harding, we get               requested certain deal features for the CDO,
   the job done right!                                including a sourcing fee for any assets that
                                                      Magnetar proposed and a payout structure
(Compl. ¶¶ 96–97.) Plaintiffs assert that this        that ensured the assets’ cash flows would
conversation reveals:                                 not be diverted from junior interests in
                                                      Octans, such as Magnetar’s equity interest.
   [h]igh-level  meetings     between                 (Compl. ¶¶ 110–111.) The parties do not
   Magnetar and Harding, between the                  dispute, however, that these deal features
   founder of Magnetar and the founder                were disclosed in the Octans offering
   of Harding[;] and all of these


                                                 12
          Case 1:12-cv-03723-PAC Document 69 Filed 03/28/13 Page 13 of 19




circular.    (Mem. at 17; Opp. at 17.)                         stock could in fact be registered and sold.
Moreover, these allegations, if true, do not                   Id. at 323–25. Thus, in Swersky, the terms
show that Harding failed to independently                      of the agreement changed based on
control the selection of assets. Rather, they                  undisclosed information.        By contrast,
demonstrate simply that Magnetar, like any                     Plaintiffs here made an investment in Octans
equity investor, was interested in the                         while relying on terms that were expressly
structure of the deal in which it was taking a                 and exhaustively disclosed. Presumably,
risky position. But again, none of the deal’s                  Plaintiffs invested because they thought the
structure was hidden from investors.                           disclosed terms were fair; certainly those
                                                               disclosed terms do not suddenly become
    Plaintiffs nevertheless argue that,                        “inherently unfair,” triggering application of
because “Defendants possessed superior                         the “special facts” doctrine, simply because
knowledge, unavailable to Plaintiffs,                          Magnetar proposed some of them. Absent
regarding the material role that Magnetar                      an allegation that undisclosed information
played in Constructing Octans . . . [, the]                    changed the terms of the agreement,
failure to disclose this material information                  Plaintiffs have failed to allege “superior
constituted a fraudulent omission under New                    knowledge” of fraud on the part of
York law.” (Opp. at 17.) In making this                        Defendants; the “special facts” doctrine is
argument, Plaintiffs rely on a formulation of                  thus wholly inapplicable.
the “special facts” doctrine from Swersky v.
Dreyer & Traub, a New York Appellate                            iv. Failure to Raise a Strong Inference of
Division case that adopted “a duty to                                            Scienter
disclose . . . where one party’s superior
knowledge of essential facts renders a                             For the same reasons that Plaintiffs’
transaction without disclosure inherently                      allegations fail to raise a plausible inference
unfair.” 10 643 N.Y.S.2d 33, 37 (N.Y. App.                     of a misrepresentation or omission, the
Div. 1996) (internal quotation marks                           pleadings fail to raise a strong inference of
omitted).     However, Swersky is clearly                      scienter.     Because the alleged e-mail
distinguishable from this case.        There,                  exchanges with Magnetar do not show that
plaintiffs entered into an investment                          Defendants       misrepresented      Harding’s
agreement by which they would pay for                          independence, they hardly can show that
several hundred thousand shares of stock                       Defendants       knowingly      misrepresented
with the understanding that their stock                        Harding’s role. Similarly, to the extent that
would be immediately registered and                            Defendants had no obligation to elaborate on
saleable;     unbeknownst     to    plaintiffs,                the process that produced the CDO’s terms,
however, defendants omitted factual                            Plaintiffs do not identify any misdeed to
information that bore directly on whether the                  which scienter might apply.
10
   Plaintiffs also rely on SEC v. Goldman Sachs &                                *   *   *
Co., in which the court found that a party’s long and
short positions should have been disclosed because                 In sum, Plaintiffs do not adequately
that party made requests of the collateral manager.
790 F. Supp. 2d 147, 162 (S.D.N.Y. 2011). What
                                                               plead common law fraud by any Defendant
Plaintiffs decline to mention is that, allegedly, the          in relation to the Octans CDO. To the extent
party in that case had also played a role in selecting         Plaintiffs do not differentiate among
the collateral with the collateral manager. Id. at 151.        Defendants in the pleadings, they fail to
Here, there are no facts that show anyone other than           satisfy the particularity requirement of Rule
Harding selected collateral for Octans.


                                                          13
        Case 1:12-cv-03723-PAC Document 69 Filed 03/28/13 Page 14 of 19




9(b). And, particularized or not, Plaintiffs’              that Magnetar was saying something
factual allegations do not support a plausible             to SAI, the collateral manager, and
inference of an actionable misrepresentation               trying to put some kind of pressure
or omission, let alone a misrepresentation or              on them. . . . But then the reply from
omission perpetrated with scienter.                        Wachovia is, we will talk to them . . .
                                                           [s]o we know that there was some
             b. Sagittarius CDO                            kind of communication there, some
                                                           kind of pressure put by Wachovia on
    Plaintiffs’ fraud theory for Sagittarius is            its subsidiary SAI to get them to play
nearly identical to their theory for Octans,               ball.
and the same pleading defects taint both sets
of allegations.        Plaintiffs allege that           (Tr. 43:3–10.)
Defendants represented that Sagittarius
would “select and manage the Collateral                     As with the Harding exchanges
Assets” (Compl. ¶ 129), and that “[t]he                 discussed above, however, this exchange
performance of the Collateral [would] be                demonstrates very little. If anything can be
highly dependent on the financial and                   plausibly inferred from the exchange, it
managerial expertise of the Collateral                  would be that SAI was acting in a way that –
Manager” (id.). As they did with Octans,                far from appeasing or catering to Magnetar –
however, Plaintiffs fail to differentiate               displeased Magnetar, prompting discussion
among the various predecessors of the Wells             by Wachovia and Magnetar the next day.
Fargo Defendants, alleging generically that             Of course, with or without a hedging
“Wachovia          approached        Plaintiffs’        strategy, as an equity investor, Magnetar
investment advisor” (id. ¶ 123; see id.                 would not be acting inappropriately by
¶¶ 125–126);        “Wachovia         provided          seeking a user-friendly collateral manager.
Plaintiffs’ investment advisor with a                   Nor do the parties point to any provisions of
marketing presentation” (id. ¶ 128; see id ¶            the offering circular that prohibit Harding
129); and then “Wachovia” exchanged                     from communicating with investors such as
allegedly incriminating e-mails with                    Magnetar, or Plaintiffs for that matter.
Magnetar (see id. ¶¶ 134, 136–138, 142–                 Plaintiffs’ speculation and innuendo with
145). Of these e-mails, Plaintiffs argue that           respect to this exchange simply cannot
one exchange between Magnetar and                       support a claim for fraud.
Wachovia best illustrates Magnetar’s
impermissible influence over the collateral                 Finally, as they did with Octans,
manager, SAI.        (Tr. 42:24–43:4.)       On         Plaintiffs allege that Magnetar influenced
September 19, 2006, a Magnetar official e-              the structure of the Sagittarius deal by
mailed “Wachovia,” saying that Magnetar                 requesting terms that ensured cash flow
“didn’t mean to kill [SAI] off,” it “just               would not be diverted from subordinated
wanted them to be more user friendly.”                  investors and that permitted SAI’s removal
(Compl. ¶ 134.) Wachovia replied within an              with or without cause. (Compl. ¶¶ 143,
hour: “[W]e’re working on that angle as we              145.) They further argue that Defendants’
speak – let[’]s talk tomorrow.”            (Id.)        failure to disclose these requests constituted
Plaintiffs argue that this interaction                  a material omission. (Opp. at 17.) As with
demonstrates                                            Octans, though, Sagittarius’ terms were fully
                                                        disclosed (Mem. at 20; Opp. at 17), and the
                                                        fact that Magnetar may have requested some


                                                   14
        Case 1:12-cv-03723-PAC Document 69 Filed 03/28/13 Page 15 of 19




of those terms does not, on its own, render             disposition to Longshore, a fact that
the terms inherently unfair or misleading.              Defendants failed to disclose. (Id. ¶¶ 160–
                                                        164.)
    Ultimately,      Plaintiffs’    generalized
allegations fail to identify Defendants with                However different Plaintiffs’ theory of
the requisite specificity, and the pleadings in         the purported Longshore fraud may be from
relation to Sagittarius do not carry Plaintiffs’        their theory for Octans and Sagittarius, it
claims for fraudulent misrepresentations or             nevertheless suffers from the same lack of
omissions over the 12(b)(6) hurdle. Having              particularity that plagues the pleadings for
failed to make out misrepresentations of                those CDOs. Once again, Plaintiffs lump all
omissions, Plaintiffs necessarily fail to               the Wachovia entities under the broad,
allege facts that would raise a strong                  generic moniker “Wachovia.”            (See id.
inference of scienter.                                  ¶¶ 157 (“Wachovia provided Plaintiffs’
                                                        investment advisor [with] a marketing
             c. Longshore CDO                           book.”), 159 (“Wachovia [sought] to get rid
                                                        of RMBS assets . . . .”), 163 (“Wachovia
    The overall theory of fraud for the                 transferred the assets.”), 167 (“Wachovia
Longshore CDO differs from that for Octans              had knowingly misrepresented its collateral
and Sagittarius.      Longshore’s offering              selection process for Longshore.”).) For the
circular represented:                                   reasons stated above in Section II.B.2.a,
                                                        allegations that refer to an undifferentiated
   The Collateral Manager shall cause                   Wachovia entity fail to make out a claim
   any acquisition or sale of Collateral                against any of the Wells Fargo Defendants.
   by the Issuer to be conducted on an                  Because Plaintiffs fail to identify which
   arm’s length basis . . . and, if                     Wells Fargo – or Wachovia – entity was
   effected with the Collateral Manager                 responsible for the specific actions and
   or one of its Affiliates, . . . on terms             representations underpinning their fraud
   as favorable to the Issuer as would                  claim, Plaintiffs fail to state a claim against
   be the case if such Person were not                  any Wells Fargo Defendant for fraud in
   so affiliated.                                       relation to Longshore.

(Compl. ¶ 158.) Plaintiffs allege that,                     Moreover, even if the Court accepted
contrary to this representation, “Longshore             Plaintiffs’ generalized claims against
was really a vehicle for Wachovia to get rid            Wachovia as a basis of liability for WFB
of RMBS assets that it knew . . . were set to           and WFS, Plaintiffs still fail to make out a
face a quick and steep loss of value.” (Id.             claim for fraud. As an initial matter, the
¶ 159.) Specifically, they allege that when             heart of Plaintiffs’ allegations with regard to
Wachovia        cancelled      a     different          Longshore relies on the SEC Order in which
contemplated CDO in February 2007, it                   the SEC asserted that collateral manager
brokered a sale with its wholly owned                   SAI had purchased assets at above-market
subsidiary SAI so that Longshore would                  price for Longshore. (Id. ¶¶ 165–167.)
acquire the assets originally destined for the          However, SEC settlements and consent
cancelled CDO. (Id. ¶¶ 160–163.) They                   judgments are generally not admissible as
further allege that SAI then overpaid for               evidence and thus are not a proper basis for
those assets, the market value of which had             a complaint. See Lipsky v. Commonwealth
fallen between their initial purchase and the           United Corp., 551 F.2d 887, 891–94 (2d Cir.


                                                   15
          Case 1:12-cv-03723-PAC Document 69 Filed 03/28/13 Page 16 of 19




1976). Moreover, Wells Fargo did not                           motive and opportunity to defraud Plaintiffs
admit any liability or wrongdoing as part of                   in that Defendants sought to exact fees from
the settlement. (Tambe Decl. Ex. 12 at 1.)                     the Longshore CDO.            (Opp. at 25.)
And in any event, the SEC Order does not                       However, while Plaintiffs clearly allege that
allege that Defendants’ representations were                   Defendants sought fees from new financial
knowingly false. (Id. at 7 (alleging that                      instruments (Compl. ¶ 4), they fail to
“Wachovia       Capital    Markets      acted                  recognize that “a desire to earn transactional
negligently” with regard to the pricing of the                 fees . . . is [in]sufficient to establish
contested assets); Mem. at 35 n.21; Opp. at                    scienter.” Alki Partners, L.P. v. Windhorst,
23 n.14.)                                                      472 F. App’x 7, 10 (2d Cir. 2012) (internal
                                                               citations omitted) (finding scienter was not
    Setting aside those portions of the                        established when corporate defendant was
Complaint that rely on the SEC Order,                          simply “motivated to earn fees from the
Plaintiffs fail to levy other allegations that                 transactions [it structured])”; Friedman v.
support a strong inference of scienter. To                     Ariz. World Nurseries Ltd. P’ship, 730 F.
the contrary, the assets that SAI ultimately                   Supp. 521 532 (S.D.N.Y. 1990) (concluding
acquired for Longshore were originally                         it “would defy common sense” to find that
purchased by Wachovia on the open market                       the “scienter analysis would be satisfied
in anticipation of the cancelled CDO                           merely by alleging the receipt of normal
“months” before Longshore acquired them                        compensation for professional services
and at precisely the same time that                            rendered, because to do so would effectively
Wachovia was purchasing other assets for                       abolish the requirement, as against
Longshore. (Compl. ¶¶ 160, 163.) Notably,                      professional defendants in a securities fraud
Plaintiffs neither provide real dates or                       action, of pleading facts which support a
concrete timeframes to this months-long                        strong inference of scienter”), aff’d, 927
period during which the assets languished,                     F.2d 594 (2d Cir. 1991). Moreover, even if
nor do they allege any facts that would                        scienter could be based on a party’s desire to
suggest Defendants were aware that the                         accrue fees and cultivate business, Plaintiffs
assets had fallen in value. Instead, they once                 do not explain how Defendants would help
again resort to innuendo and surmise, but                      their bottom line by facilitating a massive
offer nothing in the way of hard facts to                      scheme to scuttle their own financial
support an inference of fraudulent intent. 11                  instruments. Failures such as those would
                                                               presumably      lead    to     fewer    future
    Plaintiffs also attempt to make out                        opportunities for the Wachovia entities or
scienter by arguing that Defendants had a                      SAI to earn fees.

11
   For example, Plaintiffs generally allege that, “[a]t
                                                                   In short, without alleging when
the time, based on its insider’s knowledge of the              Wachovia held the purported toxic assets or
mortgage market, Wachovia was aware of significant             for how long or at what value, and by
problems in the RMBS sector, including impending               relying on general corporate profit motives
changes to the rating methodologies used by ratings            as proof of scienter, Plaintiffs provide no
agencies, and consequent downgrades, that would
cause major decreases in the value of RMBS assets.”
                                                               basis from which to plausibly infer that
(Compl. ¶ 162.) Plaintiffs do not specify, however,            Wachovia knew it was dumping assets onto
which     “significant    problems”     or    “ratings         Longshore’s books.
methodologies” would bear on the value of
Longshore’s assets, let alone which of those assets                              *   *   *
would be affected or why.


                                                          16
        Case 1:12-cv-03723-PAC Document 69 Filed 03/28/13 Page 17 of 19




    For the reasons set forth above, Plaintiffs        purchase price of the collateral for the
have failed to adequately plead the elements           CDOs. (Id. ¶ 255.)
of common law fraud as against any
Defendant. Accordingly, their first cause of               Although Plaintiffs are creditors of the
action is dismissed.                                   Defendant CDOs, Plaintiffs’ fraudulent
                                                       conveyance claim must fail because, under
3. Aiding and Abetting Fraud, Conspiracy               the terms of the CDOs’ offering circulars,
to Defraud, and Rescission Based on Fraud              Plaintiffs are limited-recourse creditors who
                                                       only have a right to the collateral assets and
    “To establish liability for aiding and             the revenue generated by those assets. (See
abetting fraud, [inter alia, a plaintiff] must         Tambe Decl. Ex. 6 at ii (Octans); Ex. 8 at
show . . . the existence of a fraud.” See              20, 164 (Sagittarius); Ex. 10 at 16
Lerner v. Fleet Bank, N.A., 459 F.3d 273,              (Longshore).) Given their limited recourse,
292 (2d Cir. 2006) (internal quotation marks           they have no right to the funds that the
omitted). Likewise, “[t]o plead a valid                CDOs used to purchase the collateral assets.
cause of action for conspiracy under New               Consequently, even if the CDOs used those
York law, a plaintiff must allege [a] primary          funds to purchase overpriced assets and
tort.” Chrysler Capital Corp. v. Century               were thus rendered insolvent, Plaintiffs are
Power Corp., 778 F. Supp. 1260, 1267                   powerless to invoke the law of fraudulent
(S.D.N.Y. 1991) (citing Grove Press, Inc. v.           conveyance. See Miller v. Forge Mench
Angleton, 649 F.2d 121, 123 (2d Cir. 1981)).           P’ship Ltd., 00-cv-4314 (MBM), 2005 WL
Similarly, “[r]escission is only a remedy, not         267551, at *4 (S.D.N.Y. Feb. 2, 2005)
a cause of action.” Zola v. Gordon, 685 F.             (holding that a creditor may only unwind the
Supp. 354, 374 (S.D.N.Y. 1988); see also               conveyance of assets to which the creditor
Procapui-Productores de Camaroes de                    had recourse in the first place) (citing
Icapui Ltda v. Leyani, 07-cv-6627 (BSJ),               Marine Midland Bank v. Murkoff, 508
2010 WL 2720584, at *4 (S.D.N.Y. June 22,              N.Y.S.2d 17, 24–25 (N.Y. App. Div. 1986)).
2010) (dismissing a rescission cause of                Without alleging any right to the property
action after dismissing the underlying                 that is the object of their fraudulent
claims). Because Plaintiffs fail to state an           conveyance claim, Plaintiffs fail to make out
underlying claim for fraud, their derivative           a cause of action.
claims necessarily fail as well.
                                                                5.    Unjust Enrichment
       4.   Fraudulent Conveyance
                                                           Plaintiffs’ final cause of action sounds in
    In addition to their common law fraud              quasi-contract. To prevail on a claim for
claims, Plaintiffs allege that the Octans,             unjust enrichment in New York, a “plaintiff
Sagittarius, and Longshore perpetrated                 must show that (1) the other party was
fraudulent conveyances by paying above-                enriched, (2) at [plaintiff]’s expense, and
market prices for toxic assets, which                  (3) that it is against equity and good
rendered them insolvent. See N.Y.D.C.L.                conscience to permit the other party to retain
§§ 270–281;      (Compl.    ¶¶    232–254).            what is sought to be recovered.” Mandarin
Plaintiffs reason that, because they are               Trading Ltd. v. Wildenstein, 919 N.Y.S.2d
creditors of the CDO Defendants, they may              465, 471 (N.Y. 2011) (internal quotation
seek to set aside the transactions and thus            marks and brackets omitted).
recoup their losses by clawing back the



                                                  17
        Case 1:12-cv-03723-PAC Document 69 Filed 03/28/13 Page 18 of 19




    Plaintiffs allege that their investments in               (2d Cir. 1994). Accordingly, Plaintiffs fail
the COOs were used to pay a portion of                        to state a claim for unjust enrichment.
Wachovia's fees, which flowed to the Wells
Fargo Defendants.            (Compl. ~ 257.)                                   III. CONCLUSION
Plaintiffs also argue that they contributed to
the fees paid to Harding and SAl for their                        For the foregoing reasons, Defendants '
                                       12                     Motion to Dismiss is granted as to all claims
collateral management services.           (!d.)
Fundamentally, Plaintiffs' claim for unjust                   and all Defendants. Accordingly, IT IS
enrichment fails because Plaintiffs did not                   HEREBY ORDERED THAT the Complaint
pay these fees; the CDOs paid the fees that                   is dismissed with prejudice. 13 The Clerk of
Plaintiffs allege were unjustly acquired by                   the Court is respectfully directed to
the other Defendants. See Banco Espirito                      terminate the motion pending at Doc. No. 43
Santo de Envestimento, SA . v. Citibank,                      and to close this case.
N.A., 03-cv-1537 (MBM), 2003 WL
23018888, at * 18 (S.D.N .Y . Dec. 22, 2003)                  SO ORDERED.
(dismissing plaintiffs unjust enrichment
claim where fees were not paid by plaintiff
but rather by two structured finance funds);
Clark v. Daby, 751 N.Y.S.2d, 622, 623
(N.Y. App. Div. 2002) (" [I]t is the plaintiffs               Dated: March 28,2013
burden to demonstrate that services were                             New York, New York
performed for the defendant resulting in the
latter' s unjust enrichment, and the mere fact
that the plaintiffs activities bestowed a
benefit on the defendant is insufficient to                   13
                                                                 At the pre-motion conference on July 17, 2012,
establish a cause of action for unjust                        Plaintiffs declined the Court's invitation to amend
enriclunent."      (internal    citations  and                the Complaint. Specifically, the Court engaged in
quotation marks omitted)).                                    the following colloquy with Plaintiffs' counsel at the
                                                              pre-motion conference:

    Moreover, in addition to the fact that                         THE COURT: [LJet me ask you out of the
Plaintiffs did not directly enrich Defendants                      gate, do you want to amend your complaint?
with fees, it is also worth noting that the fees                   [PLAINTIFFS' COUNSEL]: No, l don't
paid by the COOs to the other Defendants                           believe that there is any need to amend our
                                                                   complaint, your Honor . ...
were governed by the contractual terms of
the COOs' offering circulars. (Se e Tambe                          THE COURT: I should be clear. [O]ne of
Dec!. Ex. 6 at 31, 52, 63, 75 , 172, 189                           the reasons I have a premotion conference
                                                                   policy . . . is that it allows defendants to
(Octans fees); Ex. 8 at 40, 50, 148                                front their arguments and often then it
(Sagittarius fees); Ex . 10 at 57, 149                             presents an opportunity for the plaintiffs to
(Longshore fees).) Where contract governs,                         amend their complaint. And if they don ' t
unjust enrichment will not lie. See U. S. East                     take advantage of that opportunity, then I
Coast Telecomms., Inc. v. U.S. West                                don't necessarily give them another
                                                                   opportunity later .       And so I think you
Commc'ns. Servs. , Inc. , 38 F.3d 1289, 1296
                                                                   should have fair warning. [Y)ou don ' t think
                                                                   you need to amend[?]
12
   Although the cause of action for unjust enrichment
                                                                   [PLAINTIFFS' COUNSEL): l do not
is captioned as an action against all Defendants, the
allegations of enrichment relate only to Harding, SAl,        (Tr. of Pre-Motion Conf. on July 17,201 2 at 12: 16-
and the Wells Fargo Defendants.                               19, 13 :5-15.)



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      Case 1:12-cv-03723-PAC Document 69 Filed 03/28/13 Page 19 of 19




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     DATE FILED: 3 - 2 '13 - 13




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